                                                              United States Bankruptcy Court
                                                                   Northern District of California
  In   re    Pacific Steel Castino Comoanv LLC                                                             Case No.   19-40193
                                                                                 Debtor(s)                 Chapter    7



                                                          AMENDMENT COVER SHEET
Amendment(s) to the following petition, list(s), schedule(s) or statement(s) are transmitted herewith
Schedule A/B
Statement of Financíal Affairs
Summary of Assets and Liabilities for Non-lndividuals




                                       NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES
Pursuant to Federal Rule of Bankruptcy Procedure 1009(a), I certiff that notice of the filing of the amendment(s) listed above has
been given this date to any and all entities affected by the amendment as follows:




 Date:                    2/28/re                                                            f
                                                                       Tracy Green
                                                                       Attorney              )
                                                                       Wendel,         Black & Dean LLP
                                                                       1 1 I 1 Broadway, 24th Floor
                                                                       Oakland, CA 946074036
                                                                       (510) 834-6600 Fax:(510) 834-1928
                                                                       tgreen@wendel.com




Software Copyright (c) 1996-2018 Best Case, LLC -w.bestcase.com                                                                  Bêst Case Bankruptcy


            Case: 19-40193                   Doc# 23              Filed: 02/28/19     Entered: 02/28/19 13:54:38          Page 1 of 26
     Fill in this information to identify the case:

     Debtor    name      Pacific Steel Gastin g Company LLC

     United States Bankruptcy Court for the               NORÏHERN DISTRICT OF CALIFORNIA

  Case number (if known) 19-40193

                                                                                                                                       I    Check if this is an
                                                                                                                                            amended filing



 Official Form 206Sum
 Summary of Assets and Liabilities for Non-lndividuals                                                                                                        12t15

 lElllll         sum mary of Assets

  1.      Schedule NB.'^Assefs-Rea/ and Personal Property (Official Form 206A/8)

         '1a.   Real property:
                Copy line 88 from Schedule NB..                                                                                             $                      0.00

         1b. Total personal property:
             Copy line 914 from Schedule N8....                                                                                             g          1,906,146.81

         1c.    Total ofall property:
                Copy line 92 from Schedule NB                                                                                               $         1,906,146.81


ÊEll9l           Summary of Liabitities


  2      Schedule D: Creditors Who Have Claims Secured by Properfy (Official Form 206D)
         Copy the total dollar amount listed ¡n Column A, Amount of claim, from line 3 of Schedute D................................        $            823,963.37

 3.      Schedule HF: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         3a. Total claim amounts of priority unsecured claims:
             Copy the total claims from Part 1 from line 5a of Schedule E/F                                                                 $         1,024,223.70

         3b. Total amount of cla¡ms of nonpriority amount of unsecured claims:
             Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F..............                                 +g         1,580,788.24


 4       Total liabilities .........
         Lines2+3a+35                                                                                                                  s           3,429,975.31




 Official Form     206sum                                  Summary of Assets and L¡ab¡lities for Non-lndividuals                                             page      1

Software Copyright (c) '1996-2018 Best Case, LLC -   w.bestcase.com                                                                             Best Case Bankruptcy



                Case: 19-40193                       Doc# 23          Filed: 02/28/19       Entered: 02/28/19 13:54:38                     Page 2 of 26
  Fill in this information to identify the case:

  Debtor    name Pacific Steel Casting Company                       LLC

  United States Bankruptcy Court for the:               NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known) 19-40193
                                                                                                                                  I     Check if this is an
                                                                                                                                        amended filing



Official Form 206NB
Schedule A/B: Assets - Real and Personal Pro e                                                                                                            12t15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. ln Schedule A/8, list any executory.contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. lf an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 1 1, list each asset under the appropriate category or attach separate supporting schedules, such as a f¡xed asset
 schedule or depreciation schedule, that gives the details for each asset ¡n a particular category. List each asset only once. ln valuing the
 debtor's ¡nterest, do not deduct the value of secured claims. See the ¡nstruct¡ons to understand the terms used in this form.
 Part 1       Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      E   ruo. Go to Part 2.
      I  Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                     Current value of
                                                                                                                                        debtor's ¡nterest
 a
             Checking, savings, money market, or financial brokerage accounts (ldentify all)
             Name of institution (bank or brokerage          firm)            Type of account                Last 4 digits of account
                                                                                                             number


             3.1.   Bank of America                                           General Account                7282                                     $2,707.03




             3.2.   Bank of America                                           Disbursement      Account      6395                                             $0.00



 4.          Other cash equivalents (ldentify all)

 5.          Total of Part    1.
                                                                                                                                                  $2,707.03
             Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line B0

 Parl2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

     I    No. Go to Part 3.
     E    Yes Fill in the information below.


lãil         Accounts receivable
10. Does the debtor have any accounts receivable?

     E No. co to Part 4.
     I Yes Fill in the information       below.

 11.         Accountsreceivable

Official Form      2064/8                                      Schedule A,/B Assets - Real and Personal Property                                            page    1

Software Copyright (c) 1996-2018 Best Case, LLC -   w.bestcase.com                                                                               Best Case Bankruptcy

              Case: 19-40193                    Doc# 23              Filed: 02/28/19     Entered: 02/28/19 13:54:38                   Page 3 of 26
  Debtor           Pacific Steel Casti nd Com                    LLC                                      Case number ff known) 19-40193
                   Name


               11a. 90 days old or less                              62,605.15                                           0.00   =                     $62,605.15
                                                face amount                                doubtful or uncollectible accounts



               11a. 90 days old or less:                             93,173.54                                          0.00                          $93,173.54
                                                face amount                                doubtful or uncollectible accounts




 12.          Total of Part 3.
                                                                                                                                                 $155,778.69
              Current value on lines 1 1a + 1 1b = line       12. Copy the total to line   82.

 Part 4           lnvestments
13. Does the debtor own any investments?

       I   No. Go to Part 5.
       E   Yes Fill in the information below


 Part 5           lnventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       I   No. co to Part 6.
       E   Yes Fill in the information below


 Part 6.     Farm¡ng and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than t¡tled motor vehicles and land)?

       I   No. Go to Part 7.
       E   Yes F¡ll in the information below.


 Paft7            Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      E    No. co to Part 8.
      I    Yes Fill in the information below.

              General description                                                   Net book value of             Valuation method used    Current value of
                                                                                    debtor's interest             for current value        debtor's interest
                                                                                    (Where available)

 39.          Office furniture
              Desks, chairs, file cabinets                                                             $0.00      Comparable sale                      $1,000.00



 40.          Office fixtures

 41           Office equipment, including all computer equipment and
              communication systems equipment and software
              Computers, printers, Ring Central phones                                                 $0.00      Comparable sale                      $1,000.00



 42           Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
              books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
              collections; other collections, memorabilia, or collectibles


 43.          Total of Part 7.                                                                                                                        $2,000.00
              Add lines 39 through 42. Copy the total to line 86.
Official Form      206A/8                                      Schedule A,/B Assets - Real and Personal Property                                             page2
Software Copyright (c) 1996-2018 Best Case, LLC -   w.bestcase.com                                                                                Best Case Bankruptcy



               Case: 19-40193                   Doc# 23              Filed: 02/28/19             Entered: 02/28/19 13:54:38               Page 4 of 26
 Debtor             Pacific Steel Casting Company LLC                                             Case number ff known) 19-40193
                    Name



 44.           ls a depreciation schedule available for any of the property listed in Pa¡t7?
               I   ¡¡o
               E   Yes

 45.          Has any of the property listed in Part 7 been appraised by a professional within the last year?
               I   ¡,¡o
               E   Yes

 Part 8:     Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

       E No. co to Part 9.
       I   Yes Fill in the information below

              General     description                                         Net book value of         Valuation method used       Current value of
              lnclude year, make, model, and identification        numbers    debtor's interest         for current value           debtor's ¡nterest
                               N-number)
              (i.e., VlN, HlN, or                                             (Where available)

 47.          Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.          Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
              floating homes, personal watercraft, and fishing vessels

 49.          Aircraft and accessories


 50.          Other machinery, f¡xtures, and equipment (excluding farm
              machinery and equipment)
              Foundry machinery & equipment                                                  $o.oo                                           $1 00,000.00




 51.          Total of Part 8.                                                                                                            $100,000.00
              Add lines 47 through 50. Copy the total to line 87.

 52.          ls a depreciation schedule available for any of the property listed in Part 8?
              Iruo
              E    Yes

 53.          Has any of the property listed in Part 8 been appraised by a professional within the last year?
              I    tto
              E    Yes

 Part 9:           Real property
54. Does the debtor own or lease any real property?

    E No. co to Pårt 10.
    I      Yes Fill in the information below.

 55.          Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

              Description and location of                Nature and          Net book value of          Valuation method used      Current value of
              property                                   extent of           debtor's interest          for current value          debtor's interest
              lnclude street address or other            debtor's interest   (Where available)
              description such as Assessor               in property
              Parcel Number (APN), and type
              of property (for example,
              acreage, factory, warehouse,
              apartment or office building, if
              available.


Official Form        2064/8                                  Schedule A/B Assets - Real and Personal Property                                          page 3
Software Copyr¡ght (c) 1996-2018 Best Case, LLC - w.bestcase.com                                                                           Best Case Bankruptcy
               Case: 19-40193                  Doc# 23             Filed: 02/28/19     Entered: 02/28/19 13:54:38               Page 5 of 26
 Debtor           Pacific Steel Casting Company LLC                                                    Case number ffknown) 19-40193
                  Name

              55.1. Debtor leased
                        property at 1333
                        Second Street,
                        Berkeley, Galifornia,
                        94710 and vacated
                        property on
                        November 28,2018.
                        Personal property left
                        in the premises.                                                      Unknown                                                      $0.00




 56.          Total of Part 9.                                                                                                                         $0.00
              Add the current value on lines 55.1 through 55.6 and entries from any additional sheets
              Copy the total to line 88.

 57           ls a depreciation schedule available for any of the property listed in Part g?
              INo
              E   Yes

 58.          Has any of the property listed in Part          I   been appraised by a professional within the last year?
              lNo
              E   Yes

 Part 10:         lntangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      E tto. Go to Part 11.
       I   Yes Fill in the information below

              General description                                                  Net book value of         Valuation method used     Current value of
                                                                                   debtor's interest         for current value         debtor's interest
                                                                                   (Where available)

 60.          Patents, copyrights, trademarks, and trade secrets
              Pacific Steel logo                                                                   $0.00                                           Unknown



 61           lnternet domain names and websites
              Pacificsteel.com domain                                                              $0.00                                           Unknown


 62.          Licenses, franchises, and royalties

 bJ.          Customer lists, mailing lists, or other compilations
              Customer lists for Pacific Steel and Vancouver
              lron & Steel                                                                        $0.00                                            Unknown



 64.          Other intangibles, or intellectual property
              Emission Reduction Credits                                                          $0.00      Quotes                              $36,000.00



 65.          Goodwill
              Reputation                                                                      Unknown                                              Unknown




Official Form       2064/8                                        Schedule A,/B Assets - Real and Personal Property                                      Page 4
Software Copyright (c) 1996-2018 Best Case, LLC -   w.bestcase.com                                                                            Best Case Bankruptcy


               Case: 19-40193                   Doc# 23              Filed: 02/28/19         Entered: 02/28/19 13:54:38              Page 6 of 26
  Debtor             Pacific Steel Castinq Compa ny LLC                                      Case number ffknown) 19-40193
                     Name


 þb.            Total of Part 10.
                                                                                                                                        $36,000.00
                Add lines 60 through 65. Copy the total to line 89

 67.            Do your l¡sts or records include personally identifiable information of customers (as defined in 11 U.S.C.gg 101(414) and 1e7?
                I   r.¡o
                E   Yes

 68.            ls there an amortization or other similar schedule available for any of the property listed in Part 10?
                INo
                E   Yes

 69.            Has any of the property listed in Part 10 been appraised by a professional within the last year?
                lruo
                E   Yes

 Part      11       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    lnclude all interests in executory contracts and unexpired leases not previously reported on this form

       E   ruo. Go to Part 12.
       I   Yes Fill in the information below.

                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.            Notes receivable
                Description (include name of obligor)

 72.            Tax refunds and unused net operating losses (NOLs)
                Description (for example, federal, state, local)

 1a
                lnterests in insurance policies or annuities
                Sentry lnsurance
                Letter of Credit against future expenses related to
                workers' comp claims which Debtor estimates exceeds
                the value of future claims.                                                                                           $1,575,813.00



 74             Gauses of action against third parties (whether or not a lawsuit
                has been filed)
                Rigger spilled transformer fluid containing PCB. Costs
                to clean u                                                                                                                $33,848.09
                Nature  claim
                Amount requested                                         $0.00



 75.            Other contingent and unliquidated claims or causes of action of
                every nature, including counterclaims of the debtor and rights to
                set off claims
                Property contaminated at the time Debtor took
                possession. Set off rights against landlord and right to
                reimbursement for some clean up that Debtor
                performed.                                                                                                                 Unknown
                Nature of claim
                Amount requested                                           00



 76.            Trusts, equitable or future interests in property

 77.            Other property of any kind not already listed Examples: Season tickets,
Official Form        2064/8                                  Schedule A/B Assets - Real and Personal Property                                    page 5
Software Copyright (c) 1996-2018 Best Case, LLC - M.bestcase.com                                                                      Best Case Bankruptcy



                 Case: 19-40193               Doc# 23              Filed: 02/28/19    Entered: 02/28/19 13:54:38             Page 7 of 26
  Debtor          Pacific Steel Castinq                          LLC                           Câse number ffknown) 1940193
                  Name


             country club membership


  78.        Total of Part 1 1.
                                                                                                                               $1;609,661.09
             Add lines 71 through 77. Copy the total to line 90.

  79.        Has any of the property listed in Part 11 been appraised by a professional        within the last year?
             lruo
             E   Yes




Official Form      2064/8                                      Schedule A/B Assets - Real and Personal Property                            page 6
Software Copyr¡ght (c) 1996-2018 Best Case, LLC -   w.bestcase.com                                                              Best Case Bankruptcy

             Case: 19-40193                     Doc# 23              Filed: 02/28/19    Entered: 02/28/19 13:54:38        Page 8 of 26
  Debtor          Pacific Steel Castino Com                     LLC                                  Case number ffknown) 19-401
                  Name



  Part 12         Summary

 ln Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                   Current value of                   Current value of real
                                                                                         personal property                  property

 80.    Gash, cash equivalents, and financial assets.
        Copy line 5, Part 1                                                                          $2,707.O3

 81. Deposits and prepayments.                Copy line 9, Pa¡t 2.                                          $0.00

 82. Accounts         receivable. Copy tine 12, Part 3.                                              55 778.69

 83. lnvestments.         Copy line 17, Part 4.                                                             $0.00

 84. lnventory.        Copy line 23, Pa¡l 5.                                                                $0.00

 85.    Farming and fishing-related assets. Copy line 33, Pañ                  6.                           $o.oo

 86. Office furniture, fixtures,          and equipment; and collectibles
        Copy line 43, Pa¡l     7.                                                                    $2,000.00

 87.    Machinery, equipment, and vehicles. Copy line                51   , Paft L                $1 00,000.00


 88.   Real property. Copy line 56, Pañ 9...                                                                                                             $0.00

 89. lntangibles and intellectual property.               Copy líne 66, Paft 10.                    $36,000.00

 90. All other assets.        Copy line 78, Part 11.                                 +          s1.609 ,661.09

 91.   Total. Add lines 80 through 90 for each column                                         $1,906,146.91         + 91b                           $0.00


 92. Total of all property          on Schedule A/8. Add lines 91a+91b=92                                                                           $1   ,906,146.91




Official Form 2064/8                                           Schedule A,/B Assets - Real and Personal Property                                                    page 7
Software Copyright (c) 1996-2018 Best Case, LLC -   M.bestcase.com                                                                                        Best Case Bankruptcy


             Case: 19-40193                     Doc# 23              Filed: 02/28/19         Entered: 02/28/19 13:54:38                      Page 9 of 26
                                                                 United States Bankruptcy Court
                                                                     Northern District of California
   In   re    Pacific Steel                    Companv LLC                                                              Case No.     1   9.401 93
                                                                                        Debtor(s)                       Chapter      7




                                                         AMENDED
                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

             DECLARATION UNDER PENALTY OF PERJURY ON BEHALF'OF CORPORATION OR PARTNERSHIP



                           I, the Vice President of Finance of the corporation named                as the   debtor in this case, declare under penalty
             ofperjury that I have read the foregoing Schedule A/8, consisting of                        7     page(s), and that they are true and
             correct to the best of my knowledge, information, and belief.




 Date February 28,2019                                                  Signature       /s/ Jerrv Johnson
                                                                                        Jerry Johnson
                                                                                        Vice President of Finance

     Penaltyfor making øfølse statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                       18 U.S.C.   $$    152 and357l.




Softwars Copyright (c) 1996-2018 Best Case, LLC -   M.bestcasê.com                                                                                   Best Case Bankruptcy




                Case: 19-40193                       Doc# 23         Filed: 02/28/19 Entered: 02/28/19 13:54:38                              Page 10 of
                                                                                   26
  Fimpimill in th¡s ¡nformation to identify the case

  Debtor    name Pacific          Steel Castinq Gomoanv LLG

  United States Bankruptcy Court for             the:    NORTHERN DISTRICT OF CALIFORNIA

  Case number (if known)          1   9-401 93

                                                                                                                                           M    Check if this is an
                                                                                                                                                amended filing



Official Form 207 AMENDED
Statement of Financial Affairs for Non-lndividuals Filing for Bankruptcy                                                                                              04t16
The debtor must answer every question, lf more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor's namê and case number (¡f known).

EEIIII            lncome

1.   Gross revenue from business

      lf    None.

        ldentify the beginning and ending dates of the debtor's fiscal year,                        Sources of revenue                         Gross revenue
       which may be a calendar year                                                                 Check all that apply                       (before deductions and
                                                                                                                                               exclusions)

        For prior year:                                                                             ffi Operating a business                           $21,362,708.00
        From 110112018 to 1013112018
                                                                                                    lll   otner


       For year before that:                                                                       l7] Operating a business                            $23.421.793.00
       From 110112017 to 1213112017
                                                                                                   lf     otner


       For the fiscal year:                                                                        @      Operating a business                         $19
       F    rom   1 101   12016 to 12131 12016
                                                                                                   lJ     otner

2.   Non-business revenue
     lnclude revenue regardless of whether that revenue is taxable. Non-buslness income may include interest, dividends, money collected from lawsuits,
     and royalties. List each source and the gross revenue foreach separately. Do not include revenue listed in line 1.

      ffi   t,tone.

                                                                                                    Description of sources of revenue          Gross revenue from
                                                                                                                                               each source
                                                                                                                                               (before deductions and
                                                                                                                                               exclusions)

                List Gertain Transfers Made Before Filino for Bankruotcv

3.   Gertain payments or transfers to creditors within 90 days before filing this case
     List payments or transfers-including expense reimbursements-to any creditor, other than regular employee compensation, within g0 days before
     filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4ljlt,lg
     and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      L-l} r.rone.

       Creditor's Name and Address                                             Dates                 Total amount of    value      Reasons for payment or transfer
                                                                                                                                           that apply




Official Form   207                                     Statement of Financial Affairs for Non-lndividuals Filing for Bankruptcy                                      page   1


Software Copyr¡ght (c) 1996-2018 Best Case, LLC -   w.bestcase.com                                                                                       Best Case Bankruptcy


                  Case: 19-40193                     Doc# 23          Filed: 02/28/19 Entered: 02/28/19 13:54:38                               Page 11 of
                                                                                    26
  Debtor Pacific Steel Castino                         LLC                                            Case number øknown) 19-40193



        Creditor's Name and Address                                    Dates                  Total amount of value     Reasons for payment or transfer
                                                                                                                        Check all that apply
        3'1'    Littler Mendelson                                       't1t30t18                          $7,208.00        Secured debt
                P.O. Box 45547                                                                                              Unsecu red loan repayments
                San Francisco, CA 94145                                                                                     Suppliers or vendors
                                                                                                                            Services
                                                                                                                            Other Leqal Fees

        3.2.
                McKissick                                              11t30t18                            $6,461.22        Secured debt
                2801 Dawson Road                                                                                            Unsecured .loan repayments
                Tulsa, OK 74101                                                                                             Suppliers or vendors
                                                                                                                            Services
                                                                                                                            Other Refund on
                                                                                                                        overpayment of castinq
                                                                                                                        invoice

        3.2.
                Wendel, Rosen, Black & Dean LLP                        12t20t18                            $4,084.75        Secured debt
                1 1 l1 Broadway, 24th Floor                                                                                 Unsecured loan repayments
                Oakland, CA 94607                                                                                           Suppliers or vendors
                                                                                                                            Services
                                                                                                                       M otner_,Atþ¡neylees
       3.4.
                N   RC Environmental Services                          1t3t19                            $17,000.00         Secured debt
                1605 Ferry Place                                                                                            Unsecured loan repayments
                Alameda, CA 94501                                                                                           Unsecured loan repayments
                                                                                                                            Services
                                                                                                                            Other

       3.5.
                Wendel, Rosen, Black & Dean LLP                        1t9t19                              $5,000.00        Secured debt
                1111 Broadway, 24th Floor                                                                                   Unsecured loan repayments
                Oakland, CA 94607                                                                                           Suppliers or vendors
                                                                                                                            Services
                                                                                                                            Other_Attorney_Eegg_

       3.6.
                                                                       1t23t19                           $10,000.00         Secured debt
                Hassle-Free Haulers
                2354 9th Ave.                                                                                               Unsecured loan repayments
                San Francisco, CA 94116                                                                                     Unsecured loan repayments
                                                                                                                            Services
                                                                                                                            Other

       3.7
                Techordia                                              11t30t,18                           $8,756.25        Secured debt
                1900 North Loop Road                                                                                        Unsecured loan repayments
                                                                       'U11t19                           $10,054.16
                Alameda, CA 94502                                                                                           Suppliers or vendors
                                                                                                                            Services
                                                                                                                            Other lT Services

       3.8.
                See Attachment A                                                                         $35,000.00         Secured debt
                Union Employees' Severance Pay                                                                              Unsecured loan repayments
                                                                                                                            Suppliers or vendors
                                                                                                                            Services
                                                                                                                            Other_SCveIa¡ee-Pay_


4.   Payments or other transfers of property made within            1 year before filing this case that benefited any insider
     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
     or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
     may be adjusted on 4lQ1l19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
     listed in line 3. /nslders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
Official Form   207                            Statement of Financial Affairs for Non-lndividuals F¡l¡ng for   Bankruptcy                                  page 2
Software Copyright (c) 1996-2018 Best Casê, LLC - M.bestcase.com                                                                               Best Case Bankruptcy


                Case: 19-40193              Doc# 23           Filed: 02/28/19 Entered: 02/28/19 13:54:38                              Page 12 of
                                                                            26
 Debtor Pacific Steel Castinq Companv LLC                                                                   Case number ffknowfl 19-40193



     debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any manag¡ng agent of the debtor. 11 U.S.C. S 101 (31)

      lf        ruone.

          lnsider's name and address                                          Dates                 Total amount of value          Reasons for payment or transfer
          Relationship to debtor
          4.1   .    Krishnan Venkatesan                                      12131t17 -                      $283,652.65
                                                                                                                                   Compensation
                     1631 Angsley Lane                                        12t15t18
                     San Ramon, CA94710
                     President of Pacific              , LLC Member
          4.2. KrishnanVenkatesan                                             1t22118 -                           g6,272.02 Reimbursementof Expenses
                    1631 Angsley Lane                                         9t14t18
                    San Ramon, CA 94710
                     President of Pacific              . LLC Member

          4.3. Jerry Johnson                                                  1t15t18 -                       $281,948.32 GomPensation
                     P.O. Box 6784                                            12t31t18
                    Moraga, CA 94570
                    VP Finance of Pacific Steel

          4.4. Jerry Johnson                                                  101311,t8                         $50,000.00 ComPensation
                    P.O. Box 6784
                    Moraga, CA 94570
                    VP Finance of Pacific Steel

          45'       Jerry Johnson                                             1/,241',|8                         gl,00o.oo         ExPensereimbursement
                    P.O. Box 6784
                    Moraga, CA 94570
                    VP Finance of Pacific Steel

          4.6. Jerry Johnson                                                  3l27t1g                            $3,100.gg Expense Reimbursement
                    P.O.   Box                                                12117118
                    Moraga, CA 94570
                    VP Finance of Pacific Steel

5.   Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within I year before filing this case, including property repossessed by a creditor, sold at
     a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.


      ffi None
          Creditor's name and      address                        Describe of the   Property                                     Date                     Value of property


6.   Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
     of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
     debt.

      ffi None
          Creditor's name and address                             Description of the action creditor took                        Date action was                    Amount
                                                                                                                                 taken

liEllt.I            Leqal Actiorts or Assiqnments

7.   Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
     in any capacity-w¡thin 1 year before filing this case.

      I     ttone.

                    Case   title                                  Nature of case              Court or agency's name and                 Status of case
                    Case number                                                               address


Off¡cial Form       207                                Statement of Financial Affairs for NonJndividuals Fil¡ng for Bankruptcy                                          page   3

Software Copyr¡ght (c) 1996-2018 Best Case, LLC -   M.bestcase.com                                                                                          Best Case Bankruptcy


                    Case: 19-40193                  Doc# 23          Filed: 02/28/19 Entered: 02/28/19 13:54:38                                  Page 13 of
                                                                                   26
  Debtor Pacific Steel Castinq Com                         LLC                                             Case number ffknown¡ 19-40193



                     Case   title                                  Nature of case            Court or agency's name and           Status of case
                     Case number                                                             address
          7.1   .    HFR Properties LP v. Pacfic                   Unlawful Detainer         Alameda County Superior             ff     Pending
                     Steel Casting Company LLG                                               Court                               [J     on appeal
                     RG18915202                                                              1225 Fallon Street                  ffi    Concluded
                                                                                             Oakland, CA 94612

          7.2.       Holt of California v. Pacific                 Unpaid lnvoices           San Joaquin Gounty                  n      Pending
                     Steel Casting Company LLC
                     sTK-CV-LBC-2018-5344
                                                                                             Superior Court
                                                                                             180 E. Weber Avenue
                                                                                                                                 n      On appeal
                                                                                                                                 Ø      Concluded
                                                                                             Stockton, CA 94612

          7.3.       United Contract Services lnc.                 Unpaid invoices           Alameda County Superior             u      Pending
                    v. Pacific Steel Gasting
                     Company LLC
                                                                                             Court                               n      On appeal
                                                                                             1225 Fallon Street                  w      Concluded
                     RSI 8890288, RS1 8889992                                                Oakland, CA 94612

          7.4. Adobe Lumber lnc. dba                               Unpaid lnvoices           Napa County Superior                T      Pending
                    lndustrial Wholesale v. Jerry
                    Johnson dba Pacific Steel
                                                                                             Court
                                                                                             825 Brown Street
                                                                                                                                 n      On appeal
                                                                                                                                 @      Concluded
                    Casting Co.                                                              Napa, CA 94559
                     1   8SC000252

          7.5. The Board of Trustees in their                      Union Dispute             U.S. District Court - ND of                Pending
                    capacities as Trustee of the                                             California                                 On appeal
                    CMTA-Glass, Molders,                                                     400 Golden Gate Avenue                     Concluded
                    Pottery, Plastics, et al. v.                                             San Francisco, CA 94102
                    Pacific Steel Gasting
                    Company, et al.
                    17-cv-04572-WHA

8.      Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before f¡ling this case.

         ffi   None


E;l!t'I             Certain Gifts and Charifable Contributions

9.      List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
        the gífts to that recipient is less than $1,000

         ffi   None

                    Recipient's name and   address             Description of the gifts or    contributions             Dates   given                             Value


EEñ*I Certain Losses
10.     All losses from fire, theft, or other casualty within 1 year before filing this case.

         ffi   None

          Description of the property lost      and            Amount of payments received for the loss                 Dates of loss               Value of property
          how the loss occurred                                                                                                                                     lost
                                                               lf you have received payments to cover the ross, for
                                                               example, from insurance, government compensation, or
                                                               tort liab¡l¡ty, l¡st the total received.

                                                               List unpa¡d claims on Official Form 106AJB lschedu/e
                                                               AÆi Assefs- Real and Personal Propeñy).

lltllüI             Certain Payments or Transfers

1'l .   Payments related to bankruptcy

Official Form       207                            Statement of Financial Affaírs for NonJnd¡viduals Filing for Bankruptcy                                        Page 4
Sottware Copyr¡ght (c) 1996-2018 Best Case, LLC - w.bestcase.com                                                                                      Bêst Case Bankruptcy


                    Case: 19-40193              Doc# 23              Filed: 02/28/19 Entered: 02/28/19 13:54:38                             Page 14 of
                                                                                   26
  Debtor Pacifi c Steel Casti nd             Go             LLC                                         Case number 0rknown) 19-40193



     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
     of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
     relief, or filing a bankruptcy case.

       []   r.rone.

                        Who was paid or who received               lf not money, describe any property    transferred        Dates          Total amount or
                        the transfer?                                                                                                                     value
                    -   Address
        11.1    .       Focus Management Group
                        P.O. Box22'127                                                                                       9t2017 -
                        Tamoa. FL 33630                                                                                      6t2018            $255,425.00

                        Email or website address


                        Who made the payment, if not debtor?




        11.2. Wendel, Rosen, Black & Dean
                        LLP
                        1111 Broadway, 24th Floor
                        Oakland, CA 94607-4036                     Attorney Fees                                             10t19t17            $50,000.00

                        Email or website address
                        tgreen@wendel.com
                        Who made the payment, if not debtor?




        11.3. Wendel, Rosen, Black & Dean
                        LLP
                        I 1 I 1 Broadway, 24th Floor
                        Oakland cA 94607-4036                      Attorney Fees                                             4t30t18             $10,000.00

                        Email or website address
                        tqreen(@-$/endel.com

                        Who made the payment, if not debtor?




       11 .4        Wendel, Rosen, Black & Dean
                        LLP
                        1111 Broadway, 24th Floor
                        Oakland, CA 94607-4036                     Attorney Fees                                             10122t18            $15,000.00

                        Email or website address
                    toreentôwendel- com

                    Who made the payment, if not debtor?




Official Form   207                                Statement of Financial Affa¡rs for NonJnd¡viduals Fil¡ng for Bankruptcy                               Page 5
Software Copyright (c) 1996-2018 Best Case, LLC - w.bestcase.com                                                                             Best Case Bankruptcy
                    Case: 19-40193              Doc# 23            Filed: 02/28/19 Entered: 02/28/19 13:54:38                           Page 15 of
                                                                                 26
  Debtor Pacific Steel Castino Com                            LLC                                            Case number 0rknown) 19-40193



                      Who was paid or who received                   lf not money, describe any property       transferred        Dates             Total amount or
                      the transfer?                                                                                                                              value
                      Address
             11.5     Wendel, Rosen, Black & Dean
                      LLP
                      1 I 1 I Broadway, 24th Floor
                      Oakland, CA 94607-4036                         Attorney Fees                                                12t20t18                $4,084.75
                      Email or website address
                      toreentôwendel

                      Who made the payment, if not debtor?




          1'1.6       Wendel, Rosen, Black & Dean
                      LLP
                      1111 Broadway, 24th Floor
                      Oakland, CA 94607-4036                         Attorney Fees                                                1t9t19                  $5,000.00

                      Email or website address
                      toreentôwendel. com

                      Who made the payment, if not debtor?




12.     Self-settled trusts of which the debtor is a beneficiary
      List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 1O years before the filing of this case
      to a self-settled trust or similar device.
      Do not include transfers already listed on this statement.

        ffi None.
          Name of trust or      device                               Describe any property     transferred                Dates   transfers         Total amount or
                                                                                                                          were    made                          value
13.   Transfers not already listed on this statement
      List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
      2 years before the filing of this case to another person, other than property transferred in the ordinary course of business'or financial affairs. lnclude
      both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

        l]    ttone. SEE ATTACHMENT B

                    Who received transfer?                        Description of property transferred or                     Date transfer          Total amount or
                    Address                                       payments received or debts paid in exchange                was made                           value
llllf               Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.



        lJ    ooes not apply

                     Address                                                                                                  Dates of occupancy
                                                                                                                              From-To
         14.1   .    1333 Second Street                                                                                       8t29t14 - 11t28t't8
                     Berkelev, CA 94710

lilfit':I           Health Care Bankruotcies

15. Health Care bankruptcies
    ls the debtor primarily engaged in offering services and facilities for:
    - diagnosing or heating injury, deformity, or disease, or
      - providing any surgical, psychiatric, drug treatment, or obstetric care?
Official Form       207                                Statement of Financial Affa¡rs for Non-lndividuals Filing for Bankruptcy                                 Page 6
Software Copyright (c) 1996-2018 Best Case, LLC -   w.bestcase.com                                                                                  Best Case Bankruptcy


                    Case: 19-40193                  Doc# 23          Filed: 02/28/19 Entered: 02/28/19 13:54:38                                Page 16 of
                                                                                   26
  Debtor Pacific Steel Castino Com                           LLC                                         Case number (fknown) 19-40193




       m     No. Go to Part 9.
       n     Yes. Fill ¡n the information below.


                   Facility name and address                        Nature of the business operation, including type of services          lf debtor provides meals
                                                                    the debtor provides                                                   and housing, number of
                                                                                                                                          patients in debtor's care
E IfEI         Parsonallv ldentifiable lnformation

 16. Does the debtor collect and retain personally identifiable information of customers?

       ø     No.
       I     Yes. State the nature of the information collected and retained

17.   Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
      profit-sharing plan made available by the debtor as an employee benefit?

             No. Go to Part 10.
             Yes. Does the debtor serve as plan administrator?

                    n No Go to Part       10.
                    ø Yes. Fill iñ below:
                    Name   plan
                            of                                                                                  Employer identification number of the plan
                    Pacific Steel Castinq Companv LLC 401 (k) Plan                                              EIN: XX-XXXXXXX
                    Has the plan been terminated?
                    w No
                    n Yes
                    n No Go to Part       10.
                    ø Yes. Fill
                           plan
                                in below:
                    Name of                                                                                     Employer identification number of the plan
                    CMTA Molders & Allied Workers Pension Trust                                                 EIN:

                    Has the plan been terminated?
                       No
                        Yes


                    f   tto Co to Part 10.
                    lØ Yes. Fill in below:
                    Name of plan                                                                                Employer identification number of the plan
                    Pacific Steel Castinq Comþanv Defined Benefit Pension Plan                                  EIN: XX-XXXXXXX
                    Has the plan been terminated?
                    w No
                    If Yes

              Certain F ina ncia I Accou           Safe Deoosit Boxes. and Storaoe Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
    moved, or transferred?
    lnclude checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      [-]   None
                Financial lnstitution name and                      Last 4 digits of       Type of account or          Date account was               Last balance
                Address                                             account number         instrument                  closed, sold,              before closing or
                                                                                                                       moved, or                             transfer
                                                                                                                       transferred


Offic¡al Form 207                                   Statement of Financial Affairs for Non-lnd¡viduals Fil¡ng for Bankruptcy                                    page 7
Software Copyr¡ght (c) '1996-2018 Best Case, LLC - M.bestcase.com                                                                                   Best Case Bankruptcy


               Case: 19-40193                    Doc# 23               Filed: 02/28/19 Entered: 02/28/19 13:54:38                           Page 17 of
                                                                                     26
  Debtor Pacific Steel Castino                 Com            LLC                                           Case number 0rknown) 19-40193



                    Financial lnstitution name and                   Last 4 digits of        Type of account or           Date account was                   Last balance
                    Address                                          account number          instrument                   closed, sold,                  before closing or
                                                                                                                          moved, or                               transfer
                                                                                                                          transferred
          18.1. Wells Fargo Bank NA                                  XXXX-701   1            ø Checking                   10t28t18                              s44,024.00
                    555 12th Street                                                          lf   Savings
                    Oakland, CA 94607                                                        u    Money Market
                                                                                             n    Brokerage
                                                                                                  Other

          18.2. Wells Fargo Bank NA                                  XXXX-7029               m Checking                   10t28t18                                     $0.00
                    555 12th Street                                                          n Savings
                    Oakland, CA 94607                                                        n Money Market
                                                                                             tf Brokerage
                                                                                             t-l Other_
          18.3. Wells Fargo Bank NA                               XXXX-7037                       Checking                10128t18                                     $0.00
                    555 12th Street                                                               Savings
                    Oakland, CA 94607                                                             Money Market
                                                                                                  Brokerage
                                                                                                  Other

          18.4. Wells Fargo Bank NA                               xxxx-2028                  ø Checking                                                          $1,000.00
                   555 12th Street                                                           u Savings
                   Oakland, CA 94607                                                         n Money Market
                                                                                             n Brokerage
                                                                                             n Other_
19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within             '1   year before filing this
    case.



      ffi   ttone

       Depository institution name and address                           Names of anyone with                Description of the contents                 Do you still
                                                                         access to it                                                                    have it?
                                                                         Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      l-l   None

       Facility name and address                                         Names of anyone with                Description of the contents                 Do you still
                                                                         access to ¡t                                                                    have it?
       Richmond Warehouse                                                Warehouse closed                    Patterns and Castings                       w No
       900 Brookline Drive
       Richmond, CA 94801
                                                                         4t28t18                                                                         n Yes

EEI?!![         Probêrtv the Debtor                  or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. lnclude any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

    ffi   None


EEÍú91          Details About Environment lnformation

Off¡cial Form   207                                    Statement of Financial Affairs for NonJndividuals Filing for Bankruptcy                                         page   I
Software Copyright (c) 1996-2018 Best Case, LLC -   w.bestcase.com                                                                                         Best Cas€ Bankruptcy


                 Case: 19-40193                      Doc# 23           Filed: 02/28/19 Entered: 02/28/19 13:54:38                                 Page 18 of
                                                                                     26
     Debtor Pacific Steel Castino                             LLC                                            Case number (rknowfl 19-40193



 For the purpose of Part 12, the following definitions apply:
        Environmentallaw means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
        medium affected (air, land, water, or any other medium).

 '      Srfe means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
        owned, operated, or utilized.

        Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
        simllarly harmful substance.

 Report all notices, releases, and proceedings known, regardless ofwhen they occurred.

22      Has the debtor been a party in any             judicial or administrative proceeding under any environmental law? lnclude settlements and orders.

       w        No.
       n        Yes. Provide details below.

        Case title                                                      Court or agency name and              Nature of the case                           Status of case
        Case number                                                     address

23. Has any governmental un¡t otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

       n       No.
       w       Yes. Provide details below

        Site name and address                                          Governmental unit name and                 Env¡ronmental law, if known              Date of notice
                                                                       address
        City of Berkeley                                                                                          Haz Waste Groundwater                    217t19
        Toxic Management Div¡s¡on                                                                                 HMBP Stormwater
        1947 Center St., 1st Flr.
        Berkeley, CA 94704

        Pacific Steel Casting Co. LLC
        1333 Second Street
        Berkeley, CA 94710

24. Has the debtor notified any governmental unit of any release of hazardous material?

       w       No.
       tf      Yes. Provide details below

        Site name and address                                          Governmental unit name and                 Env¡ronmental law, if     known          Date of notice
                                                                       address

llEll..!f|I         Detaits about fhe Debtor's Business or Connections to Anv Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or othenivise a person in control within 6 years before filing this case.
    lnclude this information even if already listed in the Schedules.

       [f]   None

      Business name address                                     Describe the nature of the business               Employer ldentification number
                                                                                                                  Do not include Social Security number or lTlN

                                                                                                                  Dates business ex¡sted

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case
             ffi ruone
        Name and address                                                                                                                          Date of service
                                                                                                                                                  From-To

      26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
           within 2 years before filing this case.

             llll   r.rone


Official Form       207                                Statement of Financial Affairs for Non-lndividuals Filing for Bankruptcy                                         page   9

Software Copyright (c) 1996-2018 Best Case, LLC -   w.bestcas€.com                                                                                          Best Case Bankruptcy

                    Case: 19-40193                   Doc# 23         Filed: 02/28/19 Entered: 02/28/19 13:54:38                                    Page 19 of
                                                                                   26
  Debtor Pacific Steel Castinq                                LLC                                           Case number ff*nowfl 19-40193



        Name and address                                                                                                                     Date of service
                                                                                                                                             From-To
        26b.1.       UHY LLP                                                                                                                 8t2014 - 7t2017
                     27725 Stansbury Blvd., Ste. 200
                     Farmi      Hills. M148334

     26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

           lf     None

        Name and address                                                                                        lf any books of account and records are
                                                                                                                unavailable, explain why
        26c.1        Jerry Johnson
                     VP Finance of Debtor
                     P.O. Box 6486
                     Moraga, CA 94570

     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
          statement within 2 years before filing this case.

           ll   None

        Name and address
        26d.1. Wells      Fargo Gapital Finance
                    2450 Colorado Ave., Ste. 300W
                    Santa Monica. CA 90404
       26d.2.       GMP United Steelworkers Union
                    608 East Baltimore Pike
                    Media. PA 19063-1735

27. lnventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

      Ø      No
      n      Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the tak¡ng of the                            Date of   inventory      The dollar amount and basis (cost, market,
                ¡nventory                                                                                               or other basis) of each inventory

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                             Address                                              Position and nature of any             % of interest,    if
                                                                                                             interest                               any
       Jerry Johnson                                     P.O. Box 6784                                       Vice President of Finance
                                                         Moraga, CA 94570

       Name                                             Address                                              Position and nature of any             % of interest,   if
                                                                                                             interest                               any
       Krishnan Venkatesan                              1631 Angsley Lane                                    President, Manager                     1.7%
                                                        San Ramon, CA94710

       Name                                             Address                                              Position and nature of any            % of interest,    if
                                                                                                             interest                              any
       Jeffrey Stone                                    24Frank Lloyd Wright Dr                              Manager                                10%
                                                        Ann Arbor, Ml48106

       Name                                             Address                                              Position and nature of any            % of interest,    if
                                                                                                             interest                              any
       Kevin Dougherty                                  24 Frank Lloyd Wright Dr                             Manager
                                                        Ann Arbor, M|48106


Official Form 207                                      Statement of Financial Affairs for NonJndividuals Filing for Bankruptcy                                   page 10

Software Copyr¡ght (c) 1996-2018 Best Case, LLC -   M.bestcase.com                                                                                   Best Case Bankruptcy

                Case: 19-40193                       Doc# 23         Filed: 02/28/19 Entered: 02/28/19 13:54:38                              Page 20 of
                                                                                   26
  Debtor Pacific Steel Castino                                 LLC                                          Case number ffknowfl 19-40193



        Name                                             Address                                              Position and nature of any          %   of interest, if
                                                                                                              interest                            any
        Steve Wessels                                    8821 N. University St.                               Manager
                                                         Peoria, lL 61615

        Name                                             Address                                              Position and nature of any          %   of interest, if
                                                                                                              interest                            any
        Brian Holt                                       8821 N. Universíty Street                            Manager
                                                         Peoria, lL 61615

        Name                                             Address                                             Position and nature of any           %   of interest, if
                                                                                                             interest                             any
        Alcast Company                                   8821 North University Street                        Class A Member                       41.65%
                                                         Peoria, lL 61615

        Name                                             Address                                             Position and nature of any           %   of interest, if
                                                                                                             interest                             any
        Speyside Fund LLC                                24 Frank Lloyd Wright Drive                         Class A Member                       41.65%
                                                         Suite H3225
                                                         P.O. Box 484
                                                         Ann Arbor, M|48106
        Name                                             Address                                             Position and nature of any          % of interest, if
                                                                                                             ¡nterest                            any
        Eric Wiklendt                                    8100 Reinhart Road                                  Class C Member                      5%
                                                         Garleton,   Ml 48117

29.   Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
      control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


       w     No
       n     Yes. ldentify below


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insiderwith value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

             No
             Yes. ldentify below

                Name and address of recip¡ent                     Amount of money or description and value of               Dates            Reason for
                                                                  property                                                                   providing the value
       30.'1 Speyside Fund LLC
        .    24 Frank Lloyd Wright Dr
                Suite H3225
                P.O. Box 484                                                                                                1t18t18 -        Payments on
                Ann Arbor Mt48106                                 3,780,000.00                                              10t31t18         Secured Debt

                Relationship to debtor
                LLC Member


       30.2 Krishnan Venkatesan
       .        1631 Angsley Lane                                                                                           1t15t18 -
                San Ramon, CA94710                                283,652.65                                                12t',t5t18       Compensation

                Relationship to debtor
                President of Pacifíc Steel,
                LLC Member




Official Form   207                                    Statement of F¡nancial Affairs for NonJndiv¡duals F¡ling for Bankruptcy                                 page   1 1


Software Copyr¡ght (c) 1996-2018 Best Case, LLC -   M.bestcase.com                                                                                Best Case Bankruptcy


                Case: 19-40193                       Doc# 23         Filed: 02/28/19 Entered: 02/28/19 13:54:38                             Page 21 of
                                                                                   26
  Debtor Pacific Steel Castino                              LLC                                          Case number ffknowfl 19-40193



                 Name and address of recipient                     Amount of money or descript¡on and value of            Dates             Reason for
                                                                   property                                                                 providing the value
        30.3 Krishnan Venkatesan
        .        1631 Angsey Lane
                 Suite H3225
                 P.O. Box 484                                                                                             '1122t18 -        Expense
                 Ann Arbor. Ml 481 06                              6,272.02                                               9114t18           Reimbursement
                 Relationship to debtor
                 President of Pacific Steel,
                 LLC Member


       30.4 Jerry Johnson
       .        P.O. Box 6784                                                                                             1t15t18 -
                Moraga, CA 94570                                   281,948.32                                             12t31t't8         Compensation
                Relationship to debtor
                VP Finance of Pacific Steel


       30.5 Jerry Johnson
       .        P.O. Box 6784
                Moraga, CA 94570                                   50,000                                                 10t31t18          Compensation

                Relationship to debtor
                VP Finance of Pacific Steel


       30.6 Jerry Johnson
       .        P.O. Box 6784                                                                                                               Expense
                Moraga, GA 94570                            - 1,000                                                       5t4t18            reimbursement

                Relationship to debtor
                VP Finance of Pacific Steel



       30.7 Jerry Johnson
       .        P.O. Box                                                                                                 3t27t18 -          Expense
                Moraqa, CA 94570                               3,r 00.88                                                 12t17t18           reimbursement

                Relationship to debtor
                VP Finance of Pacific Steel



31. Within 6 years before filing       this case, has the debtor been a member of any consolidated group for tax purposes?

     w      No
     n      Yes. ldentify below

    Name of the parent corporat¡on                                                                             Employer ldentification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

     nNo
     ø Yes. ldentify below.
    Name of the Pension Fund                                                                                   Employer ldentification number of the parent
                                                                                                               corporation
    CMTA Molders & Allied Workers Pension Fund

    Pacific Steel Casting Company Defined Benef¡t Pension Plan                                                 XX-XXXXXXX




OlÍicial Fotm   207                                Statement of F¡nancial Affairs for Non-lndividuals Filing for Bankruptcy                                   Page 12
Softwarê Copyr¡ght (c) 1996-2018 Best Case, LLC - M.bestcase.com                                                                                 Best Case Bankruptcy

                Case: 19-40193                  Doc# 23              Filed: 02/28/19 Entered: 02/28/19 13:54:38                           Page 22 of
                                                                                   26
  Debtor Pacific Steel Castinq Comoa NY LLC                                                             Case number ffknownl 19-40'193



 fEEEZZI        Sionatrrre and Declarat¡on

       WARNING        -
                    Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud         in
       connect¡on with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
       18 U.S.C. SS 152,'1341,1519, and 3571.

       I have examined the information in th¡s Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
       and correct.

       I   declare under penalty of perjury that the foregoing is true and correct.

  Executed      on    Februarv 28.2019

                 lsl Jerry Johnson                                     Jerrv Johnson
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor Vice President of Fi

Are additional pages fo Statement of Financial Affairs for Non-lndividuals Filing for Bankruptcy (Ofticial Form 207) attached?
l-l ¡¡o
ffi ves




Official Form   207                                Statement of Financial Affairs for NonJndividuals Filing for Bankruptcy                                   page 13
Software Copyright (c) 1996-2018 Best Case, LLC - M.bestcase.com                                                                              Best Case Bankruptcy

                Case: 19-40193                  Doc# 23            Filed: 02/28/19 Entered: 02/28/19 13:54:38                            Page 23 of
                                                                                 26
                                         ATTACHMENT A

                                                              Severance
First            Middle          Last Name                    Due
JOSE                             ARANDA                       S      o,zoo.oo
LORENZO                          ARANDA                       5     21,,267.40
ESCALANTE        EFRAIN          BLANCO                       5     ro,73o.2o
MIRANDA          PEDRO           BLAZ                         S   14,033.20
ARMANDO                          CAM POS-HERNANDEZ            S   11,0i.9.70
JOSE             FRANCISCO       CARRENO                      5 to,73o2o
NELSON                           COSTA                        5      z,tzs.zo
RUI              P               COSTA                        S   19,978.60
MARTIN                           DUENAS                       $      g,o6¡.80
MANUEL                           ESCALANTE                    517,336.20
LOPEZ            SALVADOR        ESPARZA                      5     8,2¿s.+o
JAMES                            FIGUEROA                     S g,soz.zo
EDWARD           L               FLORES                       s 6,766.60
YUHENG                           HE                           $ 3,zzg.+o
JOSE             J               HERNANDEZ                    $     8,675.50
DAVID                            ISLAS                        5   t3,3lz.ao
VON                              LAVANH                       S     6,766.60
CUONG            N               LIEU                         S     6,840.40
BARBOZA          CATALINA        LOMELI                       s     6,169.30
BARBOZA          FEDERICO        LOMELI                       S       rro.so
REFUGIO          G               LOPEZ                        S   16,015.90
SONNY                            LOUANG                       S   14,339.20
JUAN             A               LOZANO                       5   L8,462.70
CARLOS                           MARTINEZ                     S 12,484.30
PEDRO                            MARTINEZ                     S 13,569.10
ANTONIO          E               MELGOZA                      $ 12,9s7.40
ENRIQUE                          MIRAMONTES-GUEVARA           S 8,063.80
RICHARD          G               MITCHELL                     S 9,840.40
ALDO                             MORA                         S   17,otz.2o
ANDRES                           MORALES                      s   14,180.80
SALVADOR                         MORENO                       S     8,ogz.ao
MANUEL                           MUNOZ                        5   17,239.30
ANTONIO                         OCHOA                         s     6,634.60
GONZALEZ         JOSE           ORTIZ                         S 17,996.80
JOHN                            ORTIZ                         S i.6,013.20
JOSE                            ORTIZ                         S to,sto,oo
TYRONE           E.             OSBORNE                       s     8,063.80
SERGIO                          PEDROZA                       S     8,¡o¡.zo
FRANK                           PEPE                          5     4,124.20
ENRIQUE                         PEREZ                         S   16,015.00
JUAN             PICENO         PEREZ                         S     0,8¿0.+o
ANGEL                           REYES                         $   i.6,891.30
FIDENCIO         S              REYES                         $     s,gsg.so
LUIS                            REYNOSO                       S   18,657.40
ANDRES                          RIVERA                        S   ts,¡s¿.+o


        Case: 19-40193      Doc# 23      Filed: 02/28/19 Entered: 02/28/19 13:54:38   Page 24 of
                                                       26
ABEL                           RODRIGUEZ                    S   tg,¡tg.oo
JESUS           ORTIZ          RODRIGUEZ                    5   12,093.70
MIGUEL          A              RODRIGUEZ                    5    7,4s2.r0
JOSE            G              ROJO                         5 17,g36.20
HERNANDEZ       MIGUEL         RUELAS                       S 8,063.80
CHAN            CHENG          SAECHAO                      s      110.30
CHENG           CHIENG         SAECHAO                      S   18,657.40
KAO             MEUY           SAECHAO                      5    7,537.90
NICOLAS                        SALAZAR                      s   22,0L8.00
ANTONIO                        SANCHEZ                      S   17,239.30
MANUEL                         SANTOYO                      5   tg,q6z.lo
TONY            R              SILVA                        S   26,594.60
ROBERT          M              SIMAS                        S   13,372.60
BOUNLOUAM                      SITHIDETH                    S   17,996.80
DELFINO                        SOLANO                       s   18,049.00
SALVADOR                       SUAREZ                       S 13,372.60
JOSE            a              TAMAYO                       S 19,318.00
IGNACIO                       TORRES                        S 19,318.00
ONOFRE                        VASQUEZ                       S    6,766.60
MARTIN          F             VELASCO                       S   15,354.40
PULIDO          RAUL          VILLASENOR                    S    6,919.60
SALVADOR        NAVARRO       ZANDOVAL                      5    ø,zzï.lo
PABLO           MARTINEZ      ZURITA                        S   17,951.00
Monarrez        Modesta       Carrillo                      s      110.80
Hector                        Vargas                        S    g,ggg.go




       Case: 19-40193     Doc# 23      Filed: 02/28/19 Entered: 02/28/19 13:54:38   Page 25 of
                                                     26
                                             ATTACHMENT B



 13. Transfers not already listed on this Statement:

Pacific Steel entered into an auction agreement with Reich Brothers in January II,20l8 to sell
all the machinery, equipment, furniture and fixtures owned by Pacific Steel. The agreement
provided a minimum net proceeds to Pacific Steel of $1 million. The first $650 thousand was
paid on January 16,2018 and the remaining $350 thousand was paid on May 8, 2018, after the
auction dates were set. Both payments were made directly to V/ells Fargo Bank to pay down the
term loan and credit line under the Credit Facility with Wells Fargo. Reich Brothers, and their
partners FL Sales and United Asset Sales, began marketing the equipment immediately after
executing the contract and did some pre-sales of equipment prior to the electronic auction
dates. There were two auctions: Auction I was June 14, 2018 to sell equipment in Plant 1 and
Tombstone facilities; Auction 2was September II-12,2018 for Plants 2,3 andremaining
facilities. The proceeds of the pre-sales and auctions less auction expenses did not exceed $1
million, so there were no additional payments made by Reich Brothers to Pacific Steel.




0223 5 4.0 002\s39 0 | 46. I



   Case: 19-40193              Doc# 23   Filed: 02/28/19 Entered: 02/28/19 13:54:38   Page 26 of
                                                       26
